       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                               FOURTH DISTRICT

                        RITA MARIE PEREIRA,
                              Appellant,

                                     v.

           STEVEN ROBERT BRADFORD and C.B., a Child,
                          Appellees.

                 Nos. 4D2023-1652 and 4D2023-2278

                           [August 22, 2024]

   Consolidated appeal from the Circuit Court for the Seventeenth Judicial
Circuit, Broward County; Francis Viamontes, Judge; L.T. Case Nos.
FMCE16-010222 and DVCE 22003002.

  Raimondo Gugliotta of the Law Office of Raimondo Gugliotta, P.A.,
Miami, for appellant.

   Joseph Andrew Costello of Costello Law, LLC, Plantation, for appellees.

PER CURIAM.

   Affirmed.

MAY, DAMOORGIAN and CONNER, JJ., concur.

                           *          *          *

   Not final until disposition of timely filed motion for rehearing.
